    12-12020-mg       Doc 6098-2     Filed 12/13/13 Entered 12/13/13 14:00:41            Exhibit
                                   Proposed Order Pg 1 of 1



UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                               )
                                                     )       Case No. 12-12020 (MG)
RESIDENTIAL CAPITAL, LLC, et al.,                    )
                                                     )       Chapter 11
                       Debtors.                      )
                                                     )       Jointly Administered
                                                     )

                              ORDER GRANTING ADMISSION
                               TO PRACTICE PRO HAC VICE

         Upon the motion of Justin J. Lowe, to be admitted, pro hac vice, to represent the

Commonwealth of Massachusetts (the "Commonwealth"), a creditor in the above-referenced case,

and upon the movant's certification that the movant is a member in good standing of the bar in the

State of Massachusetts and the bar of the U.S. District Court for the District of Massachusetts, it is

hereby:

         ORDERED, that Justin J. Lowe, Esq., is admitted to practice, pro hac vice, in the above

referenced case to represent the Commonwealth, in the United States Bankruptcy Court for the

Southern District of New York, provided that the filing fee has been paid.


DATED: _______________
                                                         /s/
                                                         UNITED STATES BANKRUPTCY JUDGE
